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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION
                                      :
                                      :
    NANCY GOODWIN,                    :
                                      :
        Plaintiffs,                   :
                                      :
    v.                                :
                                              CIVIL ACTION NO.
                                      :
                                              1:21-cv-1159-AT
    THE WILLIAM CARTER COMPANY, :
                                      :
                                      :
        Defendant.                    :
                                      :
                                      :

                                       ORDER

        In this employment action, Plaintiff brings claims for sex discrimination and

age discrimination under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e

et seq. and the Age Discrimination in Employment Act, 29 U.S.C. § 621 et seq.

(Compl., Doc. 1.) Presently before the Court is the Magistrate Judge’s Report and

Recommendation (“R&R”) recommending that Plaintiff’s Complaint be dismissed

in full and judgment entered for Defendant. [Doc. 15, 17.]1 In the R&R, the

Magistrate Judge recommends dismissal of Plaintiff’s claims in part because

Plaintiff failed to adequately allege a proper comparator. (R&R at 8-11.)

Additionally, the Magistrate Judge found that Plaintiff’s retaliation claims failed

because Plaintiff did not exhaust her administrative remedies for these claims



1The R&R was erroneously docketed twice, with two different docket numbers. The Clerk is
DIRECTED to terminate the submission associated with docket number 17 only.
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because she did not check the box for retaliation on her EEOC Charge and because

Plaintiff did not allege facts to support a retaliation claim. (Id. at 11-14.)

      Plaintiff filed objections to the R&R (Doc. 18) and contemporaneously filed

a Motion for Leave to Amend the Complaint (Doc. 19). In both filings, Plaintiff

requests that she be allowed to amend her complaint to include more specific

factual allegations. The Court then stayed review of the R&R to allow for

consideration of Plaintiff’s Motion for Leave to Amend. Defendant then filed

responses to Plaintiff’s Objection (Doc. 21) and to Plaintiff’s Motion for Leave to

Amend. (Doc. 22.)

      Rule 15(a) of the Federal Rules of Civil Procedure provides that a party may

amend its pleading (A) once as a matter of course within 21 days after serving it, or

(B) 21 days after service of a motion or responsive pleading. Fed. R. Civ. P. 15(a)(1).

If a party seeks to amend its pleading outside these time limits, it may do so only

by leave of court or by written consent of the adverse party. Fed. R. Civ. P. 15(a)(2).

“The court should freely give leave when justice so requires.” Id.; accord Foman

v. Davis, 371 U.S. 178, 182 (1962); Shipner v. E. Air Lines, Inc., 868 F.2d 401, 406-

407 (11th Cir. 1989) (“Rule 15(a) severely restricts the district court’s freedom,

directing that leave to amend shall be freely given when justice so requires.”). Rule

15(a)’s liberal policy of “permitting amendments to facilitate determination of

claims on the merits circumscribes the exercise of the district court’s discretion;

thus, unless a substantial reason exists to deny leave to amend, the discretion of

the district court is not broad enough to permit denial.” Id. at 407.

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      Thus, the Court should deny leave to amend only where the amendment will

result in undue delay, bad faith, undue prejudice, a repeated failure to cure

deficiencies by amendments previously allowed, or futility. Foman, 371 U.S. at

182; Hall v. United Ins. Co. of Am., 367 F.3d 1255, 1263 (11th Cir. 2004) (“[D]enial

of leave to amend is justified by futility when the complaint as amended is still

subject to dismissal.”) (quoting Burger King Corp. v. Weaver, 169 F.3d 1310, 1320

(11th Cir. 1999)); cf. Bryant v. Dupree, 252 F.3d 1161, 1163-64 (11th Cir. 2001)

(reversing district court’s decision to deny leave to amend a complaint because

there was no evidence of prejudice to the defendant).

      Congruent with the above standard, this Court generally allows a plaintiff an

opportunity to amend to cure insufficient factual allegations. Here, Plaintiff

contends that she is able to cure certain deficiencies by pleading additional factual

allegations related to potential comparators. (Obj. at 2.) The Court also notes that,

for purposes of a Title VII claim, the McDonnell-Douglas framework “is not, and

never was intended to be the sine qua non for a plaintiff” to support her

discrimination claims and thus a plaintiff’s “failure to produce a comparator does

not necessarily doom the plaintiff’s case.” Smith v. Lockheed-Martin Corp., 644

F.3d 1321, 1328 (11th Cir. 2011); see also, Hamilton v. Southland Christian Sch.,

Inc., 680 F.3d 1316, 1320 (11th Cir. 2012) (holding that plaintiff did not have to

show a comparator where she showed “enough non-comparison circumstantial

evidence to raise a reasonable inference of intentional discrimination” under the

convincing mosaic analysis).

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      In light of the above standard, the R&R [Doc. 15] is ADOPTED IN PART.

Specifically, the Court ADOPTS the R&R’s findings that Plaintiff fails to state a

claim but does not adopt the R&R’s recommendation to dismiss Plaintiff’s claims

with prejudice. Plaintiff’s Complaint (Doc. 1) is DISMISSED WITHOUT

PREJUDICE. Defendant’s Motion to Dismiss [Doc. 8] is GRANTED, except to

the extent that it requests dismissal with prejudice. Plaintiff’s Motion for Leave to

Amend [Doc. 19] is GRANTED. Plaintiff is DIRECTED to file her Amended

Complaint on or before November 2, 2021.             If Plaintiff files an Amended

Complaint, the Clerk is DIRECTED to refer the case to Magistrate Judge Salinas.



        IT IS SO ORDERED this 6th day of October, 2021.


                                       ____________________________
                                       Honorable Amy Totenberg
                                       United States District Judge




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